70 F.3d 112
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ervin R. LOONEY, Petitioner,v.WOODMAN THREE MINES, INCORPORATED;  Director, Office ofWorkers' Compensation Programs, United StatesDepartment of Labor, Respondents.
    No. 94-2649.
    United States Court of Appeals, Fourth Circuit.
    Decided Nov. 15, 1995.
    
      On Petition for Review of an Order of the Benefits Review Board.  (92-1781-BLA)
      Ben. Rev. Bd.
      AFFIRMED.
      Ervin R. Looney, Petitioner Pro Se.  Mark Elliott Solomons, Laura Metcoff Klaus, ARTER &amp; HADDEN, Washington, D.C.;   Michael John Denney, Patricia May Nece, Elizabeth Ann Goodman, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C., for Respondents.
      Before WIDENER, HAMILTON, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1995).  Our review of the record discloses that the Board's decision is based upon substantial evidence and is without reversible error.  Accordingly, we affirm on the reasoning of the Board.  Looney v. Woodman Three Mines, Inc., No. CA-92-1781-BLA (B.R.B. Sept. 28, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    